     Case 2:18-cv-09573-JFW-JPR Document 237 Filed 03/04/22 Page 1 of 2 Page ID #:5984




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 3                                                        DENIED
 4                                                BY ORDER OF THE COURT
 5                                                            As Moot.
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                                                             3/4/22
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10                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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         FEDERAL TRADE COMMISSION,                 Case No. 2:18-cv-9573-JFW(JPR)

14                              Plaintiff,         [PROPOSED] ORDER
15                   v.                            GRANTING STIPULATION TO
                                                   PERMIT FTC COUNSEL TO
16       APEX CAPITAL GROUP, LLC, et al.           APPEAR REMOTELY AT THE
17                                                 HEARING ON WELLS
                                Defendants.        FARGO’S MOTION TO
18
                                                   INTERVENE
19
20
                                                   Date: March 7, 2022
                                                   Time: 1:30 P.M.
21                                                 Courtroom: 7A
22                                                 Judge: Hon. John F. Walter
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     Case 2:18-cv-09573-JFW-JPR Document 237 Filed 03/04/22 Page 2 of 2 Page ID #:5985




 1           Plaintiff Federal Trade Commission (“FTC”), Court Appointed Receiver
 2     Thomas M. McNamara, and Proposed Intervenors Wells Fargo & Company and
 3     Wells Fargo Bank, N.A., jointly agreed and stipulated to request an order
 4     authorizing the FTC’s counsel to appear remotely at the Court’s hearing on the
 5     pending motion to intervene (Doc. 219), presently scheduled for March 7, 2022.
 6     The Court hereby ORDERS:
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             1. The stipulation is GRANTED.
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             2. The FTC’s counsel is permitted to appear remotely at the Court’s hearing

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       on the motion to intervene (Doc. 219), without prejudice to the other parties

11     appearing in person. The Court will notify the parties of the method for remote

12     appearance in advance of the hearing.

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14           IT IS SO ORDERED.
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16     Dated: __________________
17                                             Hon. John F. Walter
                                               United States District Judge
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